Case 1:19-cv-00275-JJM-PAS Document 1-2 Filed 05/13/19 Page 1 of 21 PageID #: 9




                       EXHIBIT A
Case 1:19-cv-00275-JJM-PAS Document 1-2 Filed 05/13/19 Page 2 of 21 PageID #: 10



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF RHODE ISLAND

                                          )
 FRANZ P. SCHMID, JR. AND                 )
 MELINDA SCHMID,                          )
                                          )
       Plaintiffs,                        )
                                          )
       vs.                                )   Civil Action No. 1:19-cv-
                                          )
 WELLS FARGO HOME MORTGAGE, INC.,         )
                                          )
       Defendant.                         )
                                          )


            INDEX TO EXHIBIT A TO DEFENDANT’S NOTICE OF REMOVAL


     Date                                 Description
   3/18/2019     Verified Complaint
   3/19/2019     Summons
   4/17/2019     Return of Service
:d in Kent County Superior Court
               Case 1:19-cv-00275-JJM-PAS
mitted: 3/18/2019 10:36 AM
                                              Document 1-2 Filed 05/13/19 Page 3 of 21 PageID #: 11
ielope: 1974984
riewer: Takesha L.




          STATE OF RHODE ISLAND                                                SUPERIOR COURT
          KENT, SC,

          FRANZ P. SCHMID, JR AND
          MELINDA SCHMID,
                           Plaintiffs,

          V.                                                                    C.A. No.: KC-2019-

          WELLS FARGO HOME MORTGAGE, INC.
                        Defendant.

                                              VERIFIED COMPLAINT

               1. The Plaintiff, Franz P. Schmid, Jr. ("Mr. Schmid") is a resident of the State of Rhode Island

                  with a residential address of Four Home Street, 2°d Floor, West Warwick, Rhode Island

                  02893.

               2. The Plaintiff, Melinda Schmid ("Mrs. Schmid") (collectively, "the Schmids") is a resident

                  of the State of Rhode Island with a residential address of Four Home Street, 2"d Floor, West

                  Warwick, Rhode Island 02893.

               3. Upon information and belief, the Defendant, Wells Fargo Home Mortgage, Inc. ("Wells

                  Fargo"), is a foreign corporation organized under the laws of the State of California with a

                  principal place of business located at 1 Home Campus MAC X2401-49, Des Moines, Iowa

                  50328.

                                                       JURISDICTION

               4. This Honorable Court has proper personal jurisdiction over Wells Fargo, as Wells Fargo

                  has sufficient minimum contacts with the State of Rhode Island such that the exercise of

                  personal jurisdiction over Wells Fargo is proper.

               5. This Honorable Court has proper subject-matter jurisdiction over Wells Fargo, as the

                  amount in controversy exceeds the amount of at least $10,000.00.
:d in Kent County 5uperior Court
)mitted: 3/18/2Case    1:19-cv-00275-JJM-PAS
               019 10:36 AM                    Document 1-2 Filed 05/13/19 Page 4 of 21 PageID #: 12
ielope: 1974984
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               6. This Honorable Court is the proper venue for this matter, as a substantial part of the

                   transaction or occurrence of events leading up to the filing of this complaint occurred in

                   the Town of West Warwick, County of Kent, State of Rhode Island.

                                                              FACTS

               7. The Schmids were the record owner of the property located at 8657 Edgewater Avenue,

                   Galloway, Ohio 43119 (the "Property").

               8. On or about in 2006, the Schmids allegedly executed a Promissory Note (the "Note") in

                   order to purchase the Property. As security to repay the Note, the Schmids allegedly

                   granted a mortgage ("Mortgage") covering the Property to Wells Fargo.

               9. Sometime in early 2012, the Schmids fell a bit behind on their payments and began

                   receiving foreclosure notices fiom Wells Fargo.

               10.Sometime in September 2012, engaged an attorney to represent them in defending the

                   foreclosure.

               11.Sometime in the year 2013 or 2014, the Schmids applied to Wells Fargo for a loan

                   modification of their existing Mortgage.

               12. Due to a self-admitted "faulty calculation" on the part of Welis Fargo, the Schmids loan

                   modification application was improperly denied.

               13.After iinproperly declining the loan modification, sometime in 2014, Wells Fargo

                   proceeded to initiate a foreclosure sale on the Propei-ty.

               14. The foreclosure sale proceeded sometime in 2014 and the Property was sold to a third-

                   paifiy purchaser.
!d in Kent County Superior Court
               Case
)mitted: 3/18/2019     1:19-cv-00275-JJM-PAS
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ielope: 1974984
4ewer: Takesha L.




               15.After the foreclosure on the Property occui-red, the Schmids incurred significant moving

                   expenses in an attempt to relocate to another State, eventually settling at their cuilent

                   address in West Warwick, Rhode Island.

               16.Specifically, the Schmids had to borrow an initial $2,500 from a fanvly friend in order to

                   help them pay for a moving truck, inovers, and a car rental.

               17.In addition, the Sclunids incurred storage costs of approximately $6,000.00 to store their

                   personal and family belongings off-site, incurred hotel expenses of approximately

                   $1,200.00 over a thirteen (13) day period while attempting to find a new place to stay, and

                   incurred transportation expenses of approximately Eight Hundred and 00/100 Dollars

                   ($800) for the initial eight (8) month period after they moved to Rhode Island.

               18. The Schmids have incurred rent payments to rent theu current property in West Wai-wicic

                   at a rate of Seven Hundred Fifty and 00/100 Dollars ($750) per month since November

                   2014, totaling approximately $39,000.00 in rent payments since the wrongful foreclosure

                   occurred.

               19.In addition to the financial costs of being wrongfully foreclosed upon, these circumstances

                   have also caused great physical and einotional distress upon the Schmids and their children.

               20. Specifically, Mr. Schmid has been hospitalized at least twice since the wrongful

                   foreclosure's occurrence, and currently suffers from extreme mentai anguish in the form

                   of panic attacks, depression, and heightened anxiety, symptoms that have been greatly

                   heightened since the wrongful foreclosure in 2014, and even more so upon learning that

                   the foreclosure was done in error due to the faulty calculatioli by Wells Fargo.

               21. On or about September 18, 2018, Wells Fargo sent the Schmids a letter in which they

                   explicitly and unequivocally acknowledged their mistake in wrongfully denying the
:d in Kent County Superior Court
              Case
)mitted: 3/18/2019     1:19-cv-00275-JJM-PAS
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                   Schmids a loan modification due to a"faulty calculation" on their end, and that had this

                  "faulty calculation" been correct, their trial period for a loan modification would have been

                  approved, thereby preventing the foreclosure from ever occurring. See Exhibit A, attached

                  hereto, CoiTespondence from Wells Fargo, dated September 18, 2018.

               22. Not only did Wells Fargo admit to making an improper calculation, it also acknowledged

                  its wrongdoing by indicating "We want to make tliings right." See Ex. A.

                                                         COUNTI
                                                    (Wrongful Foreclosure)

               23. The Schmids re-state and re-incorporate the allegations of paragraphs one (1) through

                  twenty -two (22) as if fully set forth herein.

               24. Sometime in 2013, the Schmids applied for a loan modification of their existing loan

                  through Wells Fargo.

               25. Based upon a self-admitted "faulty calculation" by Wells Fargo, the Schmids were

                   wrongfully denied a proper loan modification of their loan with Wells Fargo.

               26. Due to the self-admitted "faulty calculation" by Wells Fargo, the Schmids Property was

                   foreclosed on and were forced to re-locate to Rhode Island.

               27. As a result of their relocation, the Schmidt's incurred significant expenses, including but

                  not limited to moving, storage, transportation, and rent expenditures.

                   WHEREFORE, the Schmids respectfully request that this Honorable Court (i) enter

           judgment in their favor and against the Defendant, Wells Fargo, plus interest, attorneys' fees, and

           costs in accordance with R.I. Gen. Laws §§ 9-1-45 and 9-21-10 and; (ii) award the Schmids such

           other and further relief this Court deems meet and just.
!d in Kent County Superior Court
              Case
)mitted: 3/18/2019    1:19-cv-00275-JJM-PAS
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iiewer: Takesha L.




                                                       COUNTII
                                                  (Breach of Contract)

               28. The Schmids re-state and re-incorporate the allegations of paragraphs one (1) through

                  twenty-seven (27) as if fully set forth herein.

               29. Sometime in the year 2013, the Schmids applied to Wells Fargo for a loan modification of

                  their existing Agreeinent with Wells Fargo.

               30. Wells Fargo had an obligation to ensure that it properly and carefully evaluated the

                  Schmids' application for the loan modification.

               31. As a result of a self-admitted "faulty calculation" on the part of Wells Fargo, the Schmids

                  were wrongfully denied a proper loan modification oftheir existing Agreement with Wells

                  Fargo.

               32. As a direct and proximate result of the denial of a proper loan modification in favor of the

                  Schmids, the Schmids suffered the loss of their Property as the result of a wrongful

                   foreclosure, forcing them to relocate to the State of Rhode Island.

                   WHEREFORE, the Schmids respectfully request that this Honorable Court (i) enter

           judgment in their favor and against the Defendant, We11s Fargo, plus interest, attorneys' fees, and

           costs in accordance with R.I. Gen. Laws §§ 9-1-45 and 9-21-10 and; (ii) award the Schmids such

           other and further relief this Court deems meet and just.

                                                       COUNT III
                                              (Negligent Misrepresentation)

               33. The Schmids re-state and re-incoiporate the allegations of paragraphs one (1) through

                  thirty-two (32) as if fully set forth herein.
A in Kent County Superior Court
)mitted: 3/18/2Case    1:19-cv-00275-JJM-PAS
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✓iewer: Takesha L.




               34. When calculating the terms of the loan modification, Wells Fargo negligently

                   misrepresented that the Schmids did not qualify for a loan modification of their loan when

                   in fact they did.

               35. Wells Fargo knew or should have known the falsity of its statements to the Schmids that

                   they did not qualify for a loan modification.

               36. The Schmids have been damaged as a result of Wells Fargo's negligent misrepresentations

                   in an amount not yet ascertained and to be determined at trial.

                   WHEREFORE, the Plaintiffs, the Schmids respectfully request that this Honorable Court

           (i) enter judgment in their favor and against the Defendant, Wells Fargo, plus interest, attorneys'

           fees, and costs in accordance with R.I. Gen. Laws §§ 9-1-45 and 9-21-10 and; (ii) award the

           Schmids such other and further relief this Court deems meet and just.

                                                      COUNT IV
                                                  (Unjust Enrichment)


               37. The Schmids and Wells Fargo were parties to an Agreement regarding the amount owed

                   to Wells Fargo as a Promissoiy Note to help finance the purchase of the Propei-ty.

               38. Sometime in 2013, the Schmids applied for a loan modification, but were denied a loan

                   modification due to Wells Fargo's "faulty calculation."

               39. As a direct and proximate result of Wells Fargo's "faulty calculation," Wells Fargo

                   wrongfully foreclosed on the Schmids property.

               40. By foreclosing on the Property, Wells Fargo has been unjustly enriched at the expense of

                   the Schmids.

               41. The failure of Wells Fargo to pay and compensate and/or reimburse the Schmids for the

                   expenses incurred as a result of Wells Fargo error will result in uiijust enrichment to
:d in Kent County Superior Court
)mitted: 3/18/2Case    1:19-cv-00275-JJM-PAS
               019 10:36 AM                     Document 1-2 Filed 05/13/19 Page 9 of 21 PageID #: 17
ielope: 1974984
iiewer: Takesha L.




                   Wells Fargo at the expense of the Sclunids.

                  WHEREFORE, the Schmids respectfully request that this Honorable Court (i) enter

           judgment in their favor and against the Defendant, Wells Fargo, plus interest, attorneys' fees, and

           costs in accordance with R.I. Gen. Laws §§ 9-1-45 and 9-21-10 and; (ii) award the Sclunids such

           other and further relief this Court deems meet and just.

                                                       COUNT V
                                     (Intentional Infliction of Emotional Distress)

               42. The Schmids re-state and re-incorporate the allegations of paragraphs one (1) through

                   forty-one (41) as if fully set forth herein.

               43. The actions and conduct of Wells Fargo in committing their self-adinitted "faulty

                  calculation" that Ied to the denial of a proper loan modification for the Schmids constituted

                   extreme and outrageous conduct under the circumstances.

               44. Wells Fargo knew, or should have known, that its conduct under the circumstances was

                   extreme and outrageous.

               45. As a result of Wells Fargo's extreme and outrageous conduct, the Schmids have sustained

                   damages in the form of emotional distress, as well as monetary damages, steinming from

                  facing an unwarranted and illegal foreclosure procedure on the Property that led to its

                  eventual wrongful sale.

                  WHEREFORE, the Schmids respectfully request that this Honorable Court (i) enter

           judgment in their favor and against the Defendant, Wells Fargo, plus interest, attorneys' fees, and

           costs in accordance with R.I. Gen. Laws §§ 9-1-45 and 9-21-10 and; (ii) award the Schmids such

           other and further relief this Court deems meet and just.
:d in Kent County 5uperior Court
              Case
)mitted: 3/18/2019    1:19-cv-00275-JJM-PAS
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ielope: 1974984
viewer: Takesha L.




              THE PLAINTIFFS HEREBY DEMAND A TRIAL BY JURY ON ALL COIUNTS SO
                                        TRIABLE.

                 THE PLAINTIFFS HEREBY DESIGNATE THE LAW FIRM OF BILODEAU
                            CAPALBO, LLC AS THEIR TRIAL COUNSEL.




                                                             Respectfully Submitted,
                                                             Plaintiffs,
                                                             Franz P. Schmid and Melinda Schmid,
                                                             By lier Attorneys,


                                                              /s/ RXanna T. Capalbo
                                                             Ryanna T. Capalbo, Esq. (#8314)
                                                             Alexander D. Schultheis, Esq. (#9534)
                                                             Bilodeau Capalbo, LLC
                                                             1300 Division Road, Suite 201
                                                             West Warwick, Rhode Isiand 02893
                                                             Tel: (401)-300-4055
                                                             Fax: (866)-894-4852
                                                             aschulthei sCa2bilodeaucapalbo.com
                                                             rcapalbo@~bilodeaucapalbo. corti
                                                             Dated: March 6, 2019
!d in Kent County Superior Court
              Case
)mitted: 3/18/2019    1:19-cv-00275-JJM-PAS
                   10:36 AM                   Document 1-2 Filed 05/13/19 Page 11 of 21 PageID #: 19
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riewer: Takesha L.




                                                    VERIFICATION

                  I, Franz P. Schmid, Jr. Plaintiff in the above-captioned action, having been duly sworn,
           do hereby depose and state that I have read the following allegations set forth in the within
           Verified Complaint and said allegations are trae and correct to the best of my knowledge.



                                                                 Franz P. Schmid, Jr. '



                   I, Melinda Schmid, Plaintiff in the above-captioned action, having been duly swom, do
            hereby depose and state that I have read the following allegations set forth in the within Verified
            Cornplaint and said allegations are true and coitect to the best of my knowledge.



                                                                 Melinda Schmid



                   SUBSCRIBED AND SWORN TO BEFORE ME THIS THE I~~~1 DAY OF MARCH,
           2019.



                                                                                                     V__~

                                                                     me: *ANNA T. CAPALBO
                                                                     t4oWpRublic, State of Rhode tsiand
                                                                               t~p~:Dec.17, 2422
                                                                          Commission # 75'1938
    Case 1:19-cv-00275-JJM-PAS Document 1-2 Filed 05/13/19 Page 12 of 21 PageID #: 20

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                                                SUPERIOR COURT
                                                         SUMMONS

                                                               Civil Action File Number
                                                               KC-2019-0318
Plaintiff                                                      Attorney for the Plaintiff or the Plaintiff
Franz P. Schmid                                                Rvanna Tvler Catialbo
    V.                                                         Address of the Plaintiff s Attorney or the Plaintiff
Defendant                                                      BII:ODEAU CAPALBO LLC
Wells Fargo Home Mortgage, Inc.                                1300'DWISION
                                                                        ;.     ROAD~.., SUITE 201
                                                               WEST W.ARWiCK°PR=I
                                                                        ,
                                                                                        '02893 .

Noel Judicial Complex                                           Address of the Defendant
Kent County                                                     1 Hoine Campus         X?=101-49
222 Quaker Lane                                                 Des Nloincs I:'1,50328
Warwick RI 02886
 401)822-6900

TO THE DEFENDANT, lN'ells Fargo Flome iviort;abe, inc.:

   The -above-named Plaiiitiff has brought an action against you in said Superior ~Court in the county
indicated labove. You are„hereby summoned~andt'equired t~_ serve u~on the Plaintiff ~ att~r-n~y, whose;
address is listed above,` n answer to~~°the complaint whicli4 is -hcre~~rith servcd tipon you within twenty (20)
days after service of this Sum►nons 'upon yoi"i. exclusive of the day of 5er~ ice.

   If you fail to do so, judbnr~ent by~ del~ault ~~~ill be taken agairnst vou for the relief demanded in the
complaint. Your answer mus't also be ~led-with the court.                  -_ .

    As provided in Rule 13(a) of the Superior Court Rules of Civi l Pcoccdure, unless the relief demanded in
the complaint is for damage arisin~ g out of Y our ownershiPa'mainteriance~.    ,rywo..pleration
                                                                                          f       ~ or control of a motor
                                                                             ~
vehicle, or unless otherwise providcd in Rule 71 3(a ), your ~~nswei- `mustgstate           as a counterclaim any related
claim             may have against the Plainti•ff,_~or_y_ou w-ill therea.fter be barred from making sueh ~claim in
any otherraction.

This Summons was generated on 3/19/2019.                                  /s/ Nancy Striuli
                                                                         Clerk


                                  Witness the seal/watermark of the Superior Court




SC-CMS-1 (revised July 2014)
   Case 1:19-cv-00275-JJM-PAS Document 1-2 Filed 05/13/19 Page 13 of 21 PageID #: 21


           UATE OF RHODE ISLAND A D lu~rice~q,^I~(uelet~e idenc~~.,~ tiumir PROVIDENCE PLANTATIONS




                                            \`~~ ~     ► ~~]~K11J ~! ~

Plaintiff                                                                     Civil Action File Number
Franz P. Schmid                                                               KC-2019-0318
    V.
Defendant
Wells Farao Home MortRa2e, Inc.

                                             PROOF&OF SER NYICE

   I hereby certify that on the date
                                  .. below I sery•ed a copy'of this Surnriions,
                                                                             M,    complaint, Language Assistance
                                  i pml`It~s p ~lee f d he tp lm
                                                               th nner. the Dcfendant, Wells Fargo Home Mortgage,
~ot; ~Y ~elivenng or leaving sdo
                               aid          ,

   ❑ With the Defendant personally.

   ❑ At the Defendant's &velling house or usual place of abodc ith a person of suitable age and discretion
 ~   then residing therein.
      Name of herson of suitable
                             .    age and discretion     --   ---              -    ' -          -   - --
      Address'of dwelling
                       ~
                            housc orusual place of-abode —              —        —      —              --
         -- --        ---         ——               —    -—      —,        -      --
         Age _                              ......-                  --
         Relation,hip to the Defendant

   ❑ With an agent authorized by appointitient oi- bv la~~~ to rec'eivt tiervice of process:`," .
     Name of authorized~agc nt '                      ~                                      ~
     If the agent is one dcsigri fid Eiy statute to recei%c ,crvice, hutller notice as required by statute was given
     as noted below.


   ❑ With a guardian or conservator of'fhe Defendalzt.
     Name of person and designation

   ❑ By delivering said papers to the attorney general or an assistant attorney general if serving the state.

   ❑ Upon a public corporation, body, or authority by delivering said papers to any officer, director, or
      manager.
      Name of person and designation


                                                       Page 1 of 2




SC-CMS-1 (revised July 2014)
    Case 1:19-cv-00275-JJM-PAS Document 1-2 Filed 05/13/19 Page 14 of 21 PageID #: 22

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                                                    P R , R , R


   Upon a private corporation, domestic or foreign:
    ❑ By delivering said papers to an officer or a managing or general agent.
      Name of person and designation
    ❑ By leaving said papers at the office of the corporation with a person employed therein.
      Name of person and designation
    ❑ By delivering said papers to an agent authorized by appointment or by law to receive service of process.
     Name of authorized agent                                -
     If the,agent is one designated by statutc to rcceMe scrvicC; further notice as required by statute was given
     as noted below.


   111 was unable to make seivicc aftcr the foliowin-, rcasonahlc atteiiipts:
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SERVICE DATE:                                 ~                                      SF°RVICE
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                                                                                 -                               --
SignatureofRSHERIFFror.=DEPUTY SHERIEF or CQNSTAi3LE


SIGNATURE OF PEKSt)N OTIIE,R TIIAN A SIIERIFF or DEPUTY SIIERIFF or 0ONSTAI3I.E 'vILJST BE
NOTARI2ED.
                                                                                      e         .
                                                                                      ,
Signature

State of _
County of

   On this           day of                  _. 20_ _. bei'Ore me, the uiidersigned notary public, personally
appeared                                                        r_         ❑ personally known to the notary
or ❑ proved to the notary through satisfactory `' ` evidence of identification, which was
                                                       , to be the person who signed above in my presence,
and who swore or affirmed to the notary that the contents of the document are truthful to the best of his or her
knowledge.

                                                               Notary Public:
                                                               My commission expires:
                                                               Notary identification number:


                                                                Page 2 of 2




SC-CMS-1 (revised July 2014)
  Case 1:19-cv-00275-JJM-PAS Document 1-2 Filed 05/13/19 Page 15 of 21 PageID #: 23




SC-CMS-1 (revised July 2014)
Case Number: KC-2019-0318
Filed in Kent County Superior Court
                 Case
Submitted: 4/17/2019      1:19-cv-00275-JJM-PAS
                      11:58 AM                               Document 1-2 Filed 05/13/19 Page 16 of 21 PageID #: 24
Envelope: 2024169
Reviewer: Takesha L.


        RETURN OF SERVICE

        In    the   Rhode             Island District Court For             PROVIDENCE PLANTATIONS
        Case Name:                  FRANZ P SCHMID
                  vs
                                    WELLS FARGO HOME MORTGAGE                     INC

        Case     No.:              KC 2019 0318           Sheriff’s File No.:     19013749
        Notice rec’d           :   4/1 0/2019


        STATE OF IOWA POLK COUNTY } SS.
        |   certify that   I       served a copy of   :   SUMMONS/COMPLAINT
        to       WELLS FARGO HOME MORTGAGE                            INC        Type   of service:   REGISTERED AGENT
        by deiivering a copy             to:    Vicki reed


        a person at least 18 years of age described as

        Address 0f service:              CORP SERVICE COMPANY 505 5TH AVENUE #729 DES MOINES,                        IA
        50309

        Date and time of service:                 4/1 1/201 9 2:52   PM
        Trips:
            There are no additional service attempts

        Reason:        ,




        FEES:
                                                                 KEVIN      J.   SCHNEIDER             Sheriff
      MILEAGE FEE                  ($1.16)
      PROCESSING FEE                    ($30.00)
      Total:$31.16
                                                                                             Polk County, Iowa




                                                                     JEREMY STONE           DeputylServer
Case Number: KC-2019-0318
Filed in Kent County Superior Court
                 Case
Submitted: 4/17/2019      1:19-cv-00275-JJM-PAS
                      11:58 AM                            Document 1-2 Filed 05/13/19 Page 17 of 21 PageID #: 25
Envelope: 2024169
Reviewer: Takesha L.




                                                            BILODEAU
                                                          CAPALBO, LLC
               Via Regular Mail

               April 3, 2019


               Polk County Sheriff’s Ofﬁce
               Attention: Civil Process
               222 Fifth Avenue
               Des Moines, IA 50309

               Re: Franz Schmid and Melinda Schmid VS. Wells Fargo                  Home Mortgage, Inc.
               C.A. No.: KC2019-0318


               Dear    Sheriff:


               Enclosed please ﬁnd the original Summons and copies of the Summons and Complaint, along with check
               #1349 in the amount of $80.00 for the out of state service fee. Please proceed to serve this Summons
               and Complaint upon the Defendant as indicated below.

               Wells Fargo          Home Mortgage, Inc.
               1   Home Campus (MAC X2401-49)
               Des Moines, IA 50328

               Once you have obtained service, please ﬁll out and execute the             original   Summons and forward same to
               our ofﬁce.       I   have enclosed a self—addressed, stamped envelope for your convenience in responding.

               Should you have any questions, please do not hesitate            to contact   me. Thank you.


               V6      trul      ours,




              Lﬁebana Peters,
               Legal Assistant
               Bilodeau Capalbo,            LLC

               Enclosures




                1350 Division Road, Suite l02                   Andrew R. Bilodeau +*++                          Admitted m  District ofCoimnHia

                West Warwick, Rhodc Island 02893                Ryanna T. Capalbn‘HAii                           Admitted in Massachusetts
                Telephone: (401) 737-4003                       Alex Schulthcis *"                       %i*>+
                                                                                                                 Admitted in Rhoda Island
                Fax: (866) 894-4852                                                                              Admitted in Connecticut
                www.HilodeauCapalbo.com                                                                          Admitted in Michigan
Case Number: KC-2019-0318
Filed in Kent County Superior Court
                 Case
Submitted: 4/17/2019      1:19-cv-00275-JJM-PAS
                      11:58 AM                            Document 1-2 Filed 05/13/19 Page 18 of 21 PageID #: 26
Envelope: 2024169
Reviewer: Takesha L.


                  STATE OF RHODE ISLAND AND                                       Hum»-   PROVIDENCE PLANTATIONS



                                                            SUPERIOR COURT
                                                                  SUWONS
                                                                    Civil Action File      Number
                                                                    KC-ZO] 9-03 18
         Plaintiff                                                  Attorney for the Piainﬁff or the Plaintiff
         Franz P. Schmid                                            Ryanna Tyler Capalbo
             v.                                                     Address. 0f the Plaintiffs Attorney or the Plaintiff
         Defendant
         Wells Fargo    Home Mortgage, Inc.


         Noel Judicial Complex
         Kent County
         222 Quaker Lane
         WarwickRI 02886
         (401) 822 6900




                                                                                                                         '




          address   is listed   above?                                                                                       ithin   twenty (£0)
          days after service ofthi'




          the complaint    is   for   damage ans;                                                            ation, or control        of a motor
                                                                                                    "t‘e
          vehicle, or unless otherwise providé                                                  I
                                                                                                           ‘as   a counterclaim any related

          claim which you       may have against the P                                     ﬂm barred from making such claim in
          any other action.

          This    Summons was         generated on 3/1 9/201 9.           /s/   Nancy Striuli
                                                                          Clerk



                                                 Witness the seallwatermark of the Superior Court




          SC-CMS—l      (revised July 2014)
Case Number: KC-2019-0318
Filed in Kent County Superior Court
                 Case
Submitted: 4/17/2019      1:19-cv-00275-JJM-PAS
                      11:58 AM                          Document 1-2 Filed 05/13/19 Page 19 of 21 PageID #: 27
Envelope: 2024169
Reviewer: Takesha L.


                     STATE OF RHODE ISLAND AND                                     PROVIDENCE PLANTATIONS


                                                         SUPERIOR COURT
         Plaintiff                                                                   Civil Action File Number

         Franz P. Schmid                                                             KC-2019-O3 1 8
                                                                                                 .
                                                                        .
                                                  -
             'v.

         Defendant
         Wells Fargo      Home Mortgage, Inc.




         Notice, and      all   other required   dge
                                                sa‘i’
         1110.,   by delivering    or leaving




             U     At   the Defendant";




                    Name of authorize
                    If the agent  one (lei
                                   is                                                                ‘ujred by statute   was given
                    as noted below.



              U With a guardian or conservator"
                   Name     of person and designation


              U By delivering said papers to the attorney general or an assistant attorney general if serving the state.
              E Upon a public corporation, body, or authority by delivering said papers to any ofﬁcer, director, or
                    manager.
                     Name of person and designation

                                                                       '1
                                                                Page        of 2




           sc-CMs-1        (revised July 2014)
Case Number: KC-2019-0318
Filed in Kent County Superior Court
                 Case
Submitted: 4/17/2019      1:19-cv-00275-JJM-PAS
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Envelope: 2024169
Reviewer: Takesha L.




            Upon a private corporation, domestic or foreign:
             E] By delivering said papers to an ofﬁcer or a managing or general                                    agent.

                 Name      of person and designation                              .
                                                                                                                             .




               U By leaving said papers at the ofﬁce of the corporation with a person employed therein.
                 Name of person and designation
               D By delivering said papers to an agent authorized by appointment or by law to receive service of process.
                 Name of authorized agent                                                              >




                                    one designated by          statut
                                                                         ‘




                                                                                                           ﬁnzthcr notice as required by‘ statute      was given
                  If the agent is                               '




                  as noted below.                          .




                                                                             "L

               U I was unable   'to.   make s                                            .
                                                                                                              .‘w   *




         SERVICE DATE:




          County of

                On this                  day of                                                                         ‘ldersigned notary public, personally

          appeared                                                  ._                                        __            D    personally   known   to the notary
                                                                                                                                                      which    was
          or     D    proved        to     the    notary        through           smsfa           0'        evidence        of     identiﬁcation,
                                                                       be the person who signed above in my presence,
                                                                                             ,
                                                                                                 to

          and who    swore or afﬁrmed to the notary that the contents of the document are truthﬁll to the best of his or her

          knowledge.

                                                                                  Notary Public:
                                                                                  My commission expires:
                                                                                  Notary identiﬁcation number:



                                                                                      Page 2 of 2




           SC-CMS-l       (revised July 2014)
Case Number: KC-2019-0318
Filed in Kent County Superior Court
                 Case
Submitted: 4/17/2019      1:19-cv-00275-JJM-PAS
                      11:58 AM                    Document 1-2 Filed 05/13/19 Page 21 of 21 PageID #: 29
Envelope: 2024169
Reviewer: Takesha L.




          sc-CMs-I    (revised July 2014)
